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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
MARK NUNEZ, et al.,
                 Plaintiff,
        -v-                                                           No. 11-CV-5845-LTS-RWL
CITY OF NEW YORK et al.,
                 Defendants.
-------------------------------------------------------x
                                                     ORDER
                 For the reasons stated on the record during the status conference held in the

above-captioned matter on December 14, 2023, the Court finds that the Department of

Correction (the “Department”) is in contempt of Section D, paragraph 3 and Section E,

paragraph 4 of the Action Plan (docket entry no. 465) and Section I, paragraph 5 of the June 13,

2023, Order (docket entry no. 550). In order to purge its contempt, the Department is required,

by February 27, 2024, to comply with the following three requirements:

                 First, the Department must ensure that the role and authority of the Nunez

Manager, appointed pursuant to Section I, paragraph 7 of the Court’s June 13, 2023, Order,

correspond to the function and responsibilities the position encompasses in facilitating

compliance with the Nunez Court Orders. In addition, the Department, in consultation with the

Monitor, shall review and make a determination regarding whether the Nunez Manager has

sufficient resources to perform the function of the position as set forth in the Court’s June 13,

2023, Order. The Monitor must also assess the role and authority of the Nunez manager in

relation to the requirements of the June 13, 2023, Order, as well as the sufficiency of the Nunez




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Manager’s resources. To purge the Department’s contempt, both the Department’s and the

Monitor’s assessments must be positive.

               Second, the Department is required to develop and implement a high-profile

communication program through which the Commissioner and Deputy Commissioners make

clear the responsibility—shared by Department leadership and staff alike—to proactively

collaborate with the Monitoring Team. This message must be conveyed in at least one in-person

meeting and one video. The message, and the strategy for wide distribution of the message at all

levels of staff who interact with persons in custody or with the Monitoring Team, must be

approved by the Monitoring Team before it is issued. This message must emphasize that, if there

is ever any doubt regarding whether or not an issue requires collaboration with the Monitoring

Team, staff are required to (i) raise the issue with the Monitoring Team and (ii) ask what is

required for compliance.

               Third, the Department, in consultation with the Monitor, shall develop a set of

data and metrics for use of force, security, and violence indicators that will be routinely

evaluated by Department leadership to identify trends and patterns regarding unnecessary and

excessive force and violence in order to identify the root cause of these issues and develop

strategies to address them. 1 Upon request by the Monitor, the Department shall provide data

regarding use of force, security, and violence indicators and permit observation of meetings in

which such information is evaluated by Department leadership.




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       This requirement should already be familiar to the Department because it was included as
       Section 1, Paragraph 1 of the Court’s August 10, 2023, Order. (See docket entry no.
       654.) However, the Monitoring Team’s November 8, 2023, Status Report (see docket
       entry no. 616) indicated that the Department has not yet fully complied with this
       paragraph of the Order.


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              The Department must file a joint status report with the Monitoring Team by

February 27, 2024, to provide the Court with updates with respect to how each of these three

requirements have been satisfied.

              SO ORDERED.

Dated: December 20, 2023                                  __/s/ Laura Taylor Swain ____
       New York, New York                                 Laura Taylor Swain
                                                          Chief United States District Judge




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